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From: McKenna Filler
To: WAWDdb_ NewCasesSea
Cc Ben Hodges
Subject: In Re: Elizabeth Cooley Subpoena - Miscellaneous Case filing
Date: Friday, July 17, 2020 6:08:37 PM
Attachments: ERMI Motion to Quash (Cooley).pdf
Proposed Order.pdf

Good evening,

Attached please find ERMI LLC’s Motion to Quash and Alternative Motion for a Protective Order and Proposed
Order for filing with the court as a Miscellaneous Case. | can separate the individual exhibits to the motion and
send them to you if needed. Please contact me if you have any questions. Thank you.

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